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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

HM FLORIDA-ORL, LLC

      Plaintiffs,

v.                                          Case No. 6:23-cv-950 – GAP-LHP

MELANIE GRIFFIN, in her official capacity
as Secretary of the Florida Department of
Business & Professional Regulation,

     Defendant.
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                NOTICE OF APPEARANCE AS ADDITIONAL
                      COUNSEL FOR DEFENDANT

      William H. Stafford III hereby gives notice of his appearance as additional

counsel for Defendant Melanie Griffin, in her official capacity as Secretary of the

Florida Department of Business & Professional Regulation.

Dated: June 15, 2023.
                                         Respectfully submitted,

                                         ASHLEY MOODY
                                         Attorney General

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